                             IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLORADO
                                     Honorable Marcia S. Krieger

Civil Action No. 11-cv-02124-MSK-CBS

MICHAEL SCANLAN, individually and on behalf of all others similarly situated,

                Plaintiff,

v.

FIRST STATE BANK OF COLORADO,

                Defendant.


     ORDER REGARDING CUSTODY OF EXHIBITS AND DEPOSITIONS USED IN
                 EVIDENTIARY HEARINGS AND TRIALS


       IT IS ORDERED that, as to any exhibits and depositions used during evidentiary

hearings or trials, counsel for the parties shall retrieve the originals of such exhibits and

depositions from the Court following the evidentiary hearing or trial, and shall retain same for 60

days beyond the later of the time to appeal or conclusion of any appellate proceedings. The

Court will retain its copy of the exhibits for the same time period after which the documents will

be destroyed.

       DATED this 18th day of August, 2011.

                                                       BY THE COURT:




                                                       Marcia S. Krieger
                                                       United States District Judge
